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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG                                     MDL NO. 2179
"DEEPWATER HORIZON" IN THE
GULF OF MEXICO, ON APRIL 20,                                        SECTION “J” (1)
2010
                                                                    JUDGE BARBIER
This document relates to: 11-275
                                                                    MAGISTRATE SHUSHAN


                                            ORDER

         Considering the foregoing Motion for Leave to File Reply Memorandum Opposing BP’s

Motion for Judgment on the Pleadings submitted on behalf of Certain Underwriters at Lloyd’s,

London and Various Insurance Companies;

         IT IS HEREBY ORDERED that Certain Underwriters at Lloyd’s, London and Various

Insurance Companies Motion for Leave to File Reply Memorandum is GRANTED.

         New Orleans, Louisiana, this ___ day of September, 2011.



                                            ________________________________________
                                            UNITED STATES DISTRICT COURT JUDGE




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